                     Case 4:07-cr-00036-JM Document 158 Filed 12/03/12 Page 1 of 2
AO 2450      (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 1



                                      UNITED STATES DISTRICT COURT
                                                          Eastern District of Arkansas

          UNITED STATES OF AMERICA                                      Judgment in a Criminal Case
                             v.                                         (For Revocation of Probation or Supervised Release)
             TIFFANY JEWELL HEAD

                                                                        Case No. 4:07cr00036-02 JMM
                                                                        USM No. 24653-009
                                                                         Latrece E. Gray
                                                                                                 Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           General & Special                of the term of supervision.
0   was found in violation of condition(s)            - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                                           Nature of Violation                                  Violation Ended
Standard 9                        Failure to refrain from associating with convicted felons                  10/04/2012

General                           Failure to refrain from use of a controlled substance                      10/29/2012

Special                           Failure to report for drug testing                                         10/25/2012

Special                           Failure to report for mental health intake                                 12/08/2011
       The defendant is sentenced as provided in pages 2 through _ _.;;;.2__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic cucumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 8523                      12/03/2012
                                                                                            Date of Imposition of Judgment
Defendant's Year of Birth:           1987

City and State of Defendant's Residence:                                                          Signature of Judge     ~
Traskwood, Arkansas
                                                                         James M. Moody                                US District Judge
                                                                                               Name and Title of Judge

                                                                         12/03/2012
                                                                                                         Date
                      Case 4:07-cr-00036-JM Document 158 Filed 12/03/12 Page 2 of 2
  AO 245D    (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 2- Imprisonment

                                                                                                 Judgment- Page   --=2- of        2
  DEFENDANT: TIFFANY JEWELL HEAD
  CASE NUMBER: 4:07cr00036-02 JMM


                                                                IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
SIX (6) MONTHS




     r/ The court makes the following recommendations to the Bureau of Prisons:
The defendant shall participate whatever substance abuse treatment available.
The defendant shall serve her term of imprisonment in a facility nearest to Arkansas.


     r/ The defendant is remanded to the custody of the United States Marshal.
     D The defendant shall surrender to the United States Marshal for this district:
         D    at  - - - - - - - - - D a.m.                        D     p.m.    on
         D    as notified by the United States Marshal.

     D   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         D    before 2 p.m. on
         D    as notified by the United States Marshal.
         D    as notified by the Probation or Pretrial Services Office.

                                                                        RETURN

  I have executed this judgment as follows:




         Defendant delivered on                                                      to

  at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL


                                                                               By
                                                                                          DEPUTY UNITED STATES MARSHAL
